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                    13
                                                    UNITED STATES DISTRICT COURT
                    14
                                                 SOUTHERN DISTRICT OF CALIFORNIA
                    15
                    16
                         MARTA CAROLINA BARRIENTOS                Case No. '20CV0443 LAB AHG
                    17   CALEL, an individual, J.V.C.B., a
                         minor and A.S.D.J.Y.B., a minor,
                    18                                            VERIFIED EMERGENCY
                                              Petitioners,        PETITION FOR WRIT OF HABEAS
                    19                                            CORPUS
                         v.
                    20
                         WILLIAM P. BARR, Attorney General
                    21   of the United States; GREG
                         ARCHAMBEAULT, Field Office
                    22   Director, San Diego Field Office, U.S.
                         Immigration and Customs
                    23   Enforcement; CHAD F. WOLF, Acting
                         Secretary of the U.S. Department of
                    24   Homeland Security; MATTHEW T.
                         ALBENCE, Acting Director of
                    25   Immigration and Customs
                         Enforcement; RODNEY S. SCOTT,
                    26   Chief Patrol Agent, for the Imperial
                         Beach Border Patrol Station,
                    27
                    28                        Respondents.
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                     1                                    INTRODUCTION
                     2         1.     This is a Petition for a Writ of Habeas Corpus filed on behalf of Marta
                     3   Carolina Barrientos Calel, J.V.C.B. and A.S.D.J.Y.B.,1 seeking relief to remedy their
                     4   unlawful detention at the Imperial Beach Border Patrol Station. Their Alien Numbers
                     5   are A203-606-035, A203-606-036 and A203-606-037, respectively.
                     6         2.     Petitioners J.V.C.B. and A.S.D.J.Y.B are minors that fled their home
                     7   country of Guatemala to escape physical violence and sexual abuse.
                     8         3.      Petitioner Marta Carolina Barrientos Calel (“Carolina”) is Petitioners
                     9   J.V.C.B. and A.S.D.J.Y.B’s mother. She is a victim of physical abuse. Due to
                    10   repeated head trauma, Carolina is legally blind in one eye, deaf in her right ear, and
                    11   experiences numbness on the right side of her body. It is suspected that she may have
                    12   a brain tumor.
                    13         4.     Petitioner J.V.C.B. is a rape-survivor. Carolina is also a rape-survivor.
                    14         5.     Petitioners’ father is involved with a powerful and violent gang in
                    15   Guatemala. Petitioners, Carolina, and Petitioners’ other siblings were not safe
                    16   because they were constantly abused by the gang.
                    17         6.     On March 20, 2019, Carolina fled Guatemala with Petitioners and their
                    18   two other siblings. Petitioners’ father located Petitioners’ siblings and against their
                    19   pleas to stay with Petitioners and Carolina, took them back to Guatemala.
                    20         7.     Petitioners are not safe in Tijuana, Mexico. The violent gang Petitioners
                    21   are fleeing from know that Petitioners have been and may be sent back to live in a
                    22   shelter in Tijuana, Mexico. Petitioners believe their father and his gang are awaiting
                    23   Petitioners’ return.
                    24         8.     On February 14, 2020, Petitioners appeared for their court hearing date.
                    25   Petitioners expressed their fear of returning to Mexico. Thereafter, Petitioners had a
                    26   non-refoulement interview with counsel but to date, counsel has not received notice
                    27   1
                           Petitioners J.V.C.B. and A.S.D.J.Y.B.’s names are redacted pursuant to Fed. R.
                    28   Civ. P. 5.2(a) to protect their identity publicly. They are known to Respondents and
                         their counsel.
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                     1   of the decision.
                     2         9.     The family has been detained in a detention center since February
                     3   29, 2020, without any explanation as to why.
                     4         10.    Petitioners’ health and wellbeing are at risk. Petitioners are living in
                     5   a cement cell, and given no to very little food. Carolina requires immediate,
                     6   extensive medical treatment for her eye and potential brain tumor. Her life is at risk
                     7   in the detention centers and in Mexico. Without the necessary medical care and
                     8   treatment Carolina’s health has worsened. If she were to die, Petitioners would be
                     9   orphaned in a foreign country with no means to provide for themselves and even less
                    10   protection from the violent gang searching for them.
                    11         11.     Petitioners’ continued detention in the Imperial Beach Border Patrol
                    12   Station is an imminent threat to their health, safety and welfare and is a direct
                    13   violation of: (1) the Flores Settlement Agreement (“Flores Agreement”), (2) the
                    14   Migrant Protection Program (“MPP”) Guiding Principles and (3) the laws of the
                    15   United States.
                    16         12.    Given the violation of the Flores Agreement, the MPP’s Guiding
                    17   Principles, and the continued risk to Petitioners’ health, safety, and lives in the CBP
                    18   detention facility and Mexico, Petitioners respectfully request that this Court order
                    19   DHS, CBP, ICE, and all above-captioned Respondents to release Petitioners from
                    20   their custody at the Imperial Beach Border Patrol Station, until this court can consider
                    21   briefing on the merits of this matter.
                    22                                            JURISDICTION
                    23         13.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 2241
                    24   (habeas jurisdiction); Art. I § 9, cl. 2 of the United States Constitution (Suspension
                    25   Clause); 28 U.S.C. § 1331 (federal question jurisdiction); 28 U.S.C. § 1346(a)(2)
                    26   (United States as a defendant); 28 U.S.C. § 1361 (action to compel an officer or
                    27   employee of the United States or any agency thereof); 5 U.S.C. §§ 702, 706 (review
                    28   of final agency decision); and ¶ 24(B) of the Flores Agreement. Jurisdiction lies to
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                     1   grant declaratory relief pursuant to 28 U.S.C. §§ 2201-2202 (Declaratory Judgment
                     2   Act).
                     3           14.   Sovereign immunity against actions for relief other than money
                     4   damages has been waived pursuant to 5 U.S.C. § 702.
                     5           15.   This Petition action arises under the Constitution of the United States;
                     6   the Immigration and Nationality Act (“INA”); the Administrative Procedure Act
                     7   (“APA”), 5 U.S.C. § 701 et seq.; and the Flores Agreement, which is binding on
                     8   Respondents.
                     9           16.   This Court may grant relief under the habeas corpus statute, 28 U.S.C.
                    10   § 2241 et seq. (habeas corpus), 28 U.S.C. § 2201 et seq. (declaratory relief), 28 U.S.C.
                    11   § 1651 (All Writs Act), and the APA, 5 U.S.C. § 702 (judgment against U.S. officers),
                    12   and Federal Rules of Civil Procedure 65 (injunctive relief).
                    13                                             VENUE
                    14           17.   Venue is proper in the Southern District of California because a
                    15   substantial part of the events or omissions giving rise to Petitioners’ claim occurred
                    16   in the Southern District of California. Petitioners are detained under the authority of
                    17   the CBP San Diego Field Office, and detained at the Imperial Beach Border Patrol
                    18   Station, in the alternative being detained under the authority of the ICE San Diego
                    19   Field Office, the Department of Homeland Security, all of which are located in this
                    20   district. See 28 U.S.C. § 1391 (venue proper in judicial district in which a defendant
                    21   in the action resides, or substantial part of the events giving rise to the claim
                    22   occurred).
                    23           18.   Venue is further proper with this Court pursuant to 28 U.S.C. § 1391(e)
                    24   because Respondents are officers or employees of the United States, acting in their
                    25   official capacity and/or under color of the authority of the United States, in this
                    26   District.
                    27                                            PARTIES
                    28           19.   Petitioners Carolina (30 year old female), J.V.C.B. (14 year old female)
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                     1   and A.S.D.J.Y.B. (11 year old male) are from Guatemala. They entered the United
                     2   States seeking asylum and are currently being detained in the Imperial Beach Border
                     3   Patrol Station, by CBP.
                     4          20.    Respondent William P. Barr is the Attorney General of the United States
                     5   and the head of the United States Department of Justice (“DOJ”). Respondent Barr
                     6   is responsible for advising the government on the lawful administration and
                     7   enforcement of the immigration laws and policies. Respondent Barr further has
                     8   ultimate authority over the Executive Office for Immigration Review (“EOIR”), the
                     9   agency within DOJ responsible for the immigration court system. He in his official
                    10   capacity is the ultimate legal custodian of Petitioners. Respondent Barr is sued in his
                    11   official capacity.
                    12          21.    Respondent Chad F. Wolf is the Acting Secretary of DHS, the
                    13   Department of the Executive Branch of the U.S. government that oversees the
                    14   component agencies responsible for enforcing the immigration laws of the United
                    15   States. Respondent Wolf directs and is responsible for the administration and
                    16   enforcement of the immigration laws in the United States. He is sued in his official
                    17   capacity.
                    18          22.    Respondent Mark A. Morgan is the Acting Commissioner of CBP, the
                    19   agency within DHS that is responsible for the initial processing and detention of
                    20   noncitizens apprehended near the U.S. border. In that capacity, Respondent Morgan
                    21   has direct authority over all CBP policies, procedures, and practices relating to the
                    22   apprehension of immigrant minors.         CBP’s Flores Agreement responsibilities
                    23   include, among others, determining whether and in what manner to transfer and/or
                    24   release minors, and briefly detaining immigrant minors during initial processing. He,
                    25   in his official capacity is a legal custodian of Petitioners. Respondent Morgan is sued
                    26   in his official capacity.
                    27          23.    Respondent Matthew T. Albence is the Acting Director of ICE, the
                    28   agency within DHS that is responsible for carrying out removal orders, oversees
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                     1   enforcement and removal operations, and is responsible for the detention of
                     2   noncitizens throughout the United States. Respondent Albence has direct authority
                     3   over all ICE policies, procedures, and practices relating to the detention and
                     4   deportation of noncitizens. ICE’s Flores Agreement responsibilities include, among
                     5   other things, placing each detained immigrant minor in the least restrictive setting
                     6   appropriate to the minor’s age and special needs, provided that such setting is
                     7   consistent with ICE’s interests to ensure the minor’s timely appearance before
                     8   immigration courts, release and reunification, and to protect the minor’s well-being
                     9   and that of others; and the responsibility to make and continue efforts at reunification
                    10   pursuant to ¶ 14 of the Flores Agreement. Respondent Morgan is sued in his official
                    11   capacity.
                    12         24.    Respondent Greg Archambeault is the San Diego Field Office Director
                    13   of U.S. Immigration and Customs Enforcement (“ICE”). He, in the alternative to
                    14   Respondent Chad F. Wolf, is in his official capacity a legal custodian of Petitioners.
                    15   Respondent Archambeault is sued in his official capacity.
                    16         25.    Respondent Rodney S. Scott is the Chief Patrol Agent of the Imperial
                    17   Beach Border Patrol Station. He in his official capacity is the legal custodian of
                    18   Petitioner. Respondent Scott is sued in his official capacity.
                    19                                          FACTS
                    20   Petitioners’ Experience
                    21         26.    Petitioners Carolina (30 year old female), J.V.C.B. (14 year old female)
                    22   and A.S.D.J.Y.B. (11 year old male) are from Guatemala. (See Declaration of Marta
                    23   Carolina Barrientos Calel (“Calel Decl.”), ¶ 3).
                    24         27.    Fleeing the Dangers in Guatemala. Petitioners are victims of gang
                    25   violence and physical and psychological abuse. (Id., ¶ 4). The minor petitioners’
                    26   father belongs to a powerful and violent gang. Because of that, Petitioners were
                    27   constantly subjected to threats of violence and abuse. (Id., ¶¶ 3-4). Additionally,
                    28   Petitioners J.V.C.B. and Carolina are rape-survivors. (Id., ¶ 4).
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                     1         28.    To escape gang violence and abuse, Carolina fled Guatemala with her
                     2   four minor children, Petitioners and two siblings. (Id.). However, the minor
                     3   Petitioners’ father, Carolina’s former husband, located the siblings, and took them
                     4   back to Guatemala. (Id., ¶ 3). The Guatemalan gang Petitioners are running away
                     5   from now knows Petitioners are or will be in Tijuana, Mexico. (Id., ¶ 7).
                     6         29.    Court Hearing and Credible Fear Interview. On February 14, 2020,
                     7   Petitioners presented themselves in court and expressed their fear of returning to
                     8   Mexico given that their father’s gang knew their location. (Id.). Petitioners were
                     9   detained and given a credible fear interview, which took over three (3) hours. (Id.,
                    10   ¶ 8-10).
                    11         30.    Petitioners were held in the detention center for five (5) more days after
                    12   their credible fear interview; they were not told why. (Id., ¶ 14). During that time,
                    13   Carolina was misled and bullied by officials into signing papers agreeing to go back
                    14   to Mexico and verbally abused by the officials, who taunted her about her disabilities.
                    15   (Id., ¶¶ 11-13). When Carolina would request medication, her requests were denied
                    16   and medication was withheld. (Id., ¶ 15). The family was given very little food, and
                    17   told to search through the food scraps left by other families. (Id., ¶ 9).
                    18         31.    Carolina has immediate medical needs and is not receiving adequate
                    19   necessary medical care and treatment in CBP Detention or Mexico. Carolina has
                    20   psychological and physical disabilities that require immediate medical care and
                    21   treatment, which have been refused by U.S. officials. (Id., ¶¶ 15-18). Years of
                    22   trauma to her head have left her blind in one eye, diminished her vision in her
                    23   remaining eye and severely impacted her hearing in her right ear. (Id., ¶ 18). She
                    24   has numbness on the right side of her body. (Id.). It is also suspected that she may
                    25   have a brain tumor, which may explain her progressive loss of vision in her only eye.
                    26   (See Exhibit K and Exhibit L).
                    27         32.    According to Dr. Charles Beeson, an ophthalmologist and volunteer at
                    28   the Refugee Health Alliance, Dr. Beeson has examined Carolina and noted that she
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                     1   is in need of “urgent formal visual field testing, neuro imaging of the right parietal
                     2   area of the brain, either by CT or MRI, and consultation with either a neurologist or
                     3   neuro-ophthalmologist to rule out a brain tumor or other pathology that could be
                     4   causing progressive loss of peripheral vision in her only eye.” (See Exhibit K). Dr.
                     5   Beeson notes that there “is a large body of research that supports both the need for
                     6   treatment and long-term health costs and repercussions if this condition is left
                     7   untreated including permanent disability, death, and permanent and total loss of
                     8   sight.” ( Id.) In Dr. Beeson’s medical opinion and given the current state of
                     9   healthcare provision in Tijuana, the barriers to obtaining quality medical care, and
                    10   the complexity of the patient’s medical condition that currently the patient does not
                    11   have access to the medical care needed to adequately prevent risk of decompensation
                    12   and subsequent poor health outcomes including disability and death. ( Id.)
                    13         33.    According to Dr. Hannah Janeway, a licensed physician in the State of
                    14   California and co-director and member of the board of directors for Refugee Health
                    15   Alliance, Carolina suffers from both physical and psychiatric conditions that cannot
                    16   be properly evaluated or managed in Mexico. (See Exhibit L). Dr. Janeway noted
                    17   that Carolina “needs urgent formal visual field testing, neuro-imaging, and
                    18   consultation with a neurologist or a neuro-ophthalmologist” because if her conditions
                    19   are left untreated, “there are severe short and long-term health consequences
                    20   including permanent disability, death, and permanent and total loss of sight.” (Id.)
                    21   In Dr. Janeway’s medical opinion, Carolina “does not have access to the medical care
                    22   that she needs to further diagnose and manage her health condition at this time and
                    23   that this could lead to permanent disability and severe health outcomes for her.” (Id.)
                    24   It is Dr. Janeway’s medical opinion that Petitioners’ and Carolina’s detention be
                    25   ended immediately. (Id.)
                    26         34.    Put simply, Carolina’s life is at-risk with her continued detention in CBP
                    27   facilities and in Mexico. (Id.).
                    28         35.    Tijuana, Mexico is not a safe place for migrant minors from Central
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                     1   America. According to the U.S. Department of State, Travel Advisories, Tijuana,
                     2   Mexico is identified as a Level 2 location, warning travelers to “exercise increased
                     3   caution in Mexico due to crime and kidnapping.” “Criminal activity and violence”
                     4   are present in Tijuana, Mexico with “the number of homicides” being “particularly
                     5   notable.”2 Researchers documented the cases of forty-two (42) migrants returned to
                     6   Tijuana, Mexico under MPP that were raped, kidnapped, assaulted, and/or pursued
                     7   by persecutors there. This figure is likely a gross underestimate of the harm imposed
                     8   to asylum seekers given the limited monitoring of the program to date; review of
                     9   published media accounts, NGO reports, court filings, and other publicly available
                    10   information, reveal at least 74 other MPP returnees subject to violent attacks or
                    11   threats in Mexico.3
                    12         36.    Migrants seeking asylum and forced into MPP have experienced rape,
                    13   kidnappings, robbery, and other serious harm in Mexico. “As of December 23, 2019,
                    14   there are at least 660 publicly reported cases of murder, rape, torture, kidnapping,
                    15   and other violent assaults against asylum seekers and migrants forced to return to
                    16   Mexico”, according to Human Rights First.4 A separate study bolsters those findings;
                    17   “[r]esearchers from the University of California, San Diego interviewed 607 asylum
                    18   seekers returned to the towns of Tijuana and Mexicali under MPP and found that
                    19   nearly a fourth of the individuals interviewed had been threatened with violence, half
                    20   of which had suffered physical violence”.5
                    21
                         2
                    22     Mexico Travel Advisory, Travel.state.gov (2020),
                         https://travel.state.gov/content/travel/en/traveladvisories/traveladvisories/mexico-
                    23   travel-advisory.html
                         3
                                                (last visited March 2, 2020).
                           Human Rights First, Delivered to Danger: Illegal Remain in Mexico Policy
                    24   Imperils Asylum Seekers’ Lives and Denies Due Process (2019),
                         https://docs.house.gov/meetings/JU/JU01/20190906/109889/HHRG-116-JU01-
                    25   Wstate-DrakeS-20190906-SD003.pdf
                         4
                                                                  (last visited Jan 6, 2020).
                           Human Rights First, “Delivered to Danger: Trump Administration sending asylum
                    26   seekers and migrants to danger” (2019),
                         https://www.humanrightsfirst.org/campaign/remain-mexico (last visited Jan 9,
                    27   2020).
                         5
                           US Immigration Policy Center, Seeking Asylum: Part 2, 6, 11-12 (2019),
                    28   https://usipc.ucsd.edu/publications/usipc-seeking-asylum-part-2-final.pdf (last
                         visited Jan 9, 2020).
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                     1         37.    Central Americans are specifically targeted by gangs, criminals, and
                     2   corrupt officials in Mexico on account of their nationality and, at times, race. Central
                     3   Americans are more likely than others to be victims of kidnappings and crimes of
                     4   violence because it is assumed they are traveling to the United States because they
                     5   have family members who live there and can pay ransoms. They are offered limited
                     6   protection by the Mexican government and police.
                     7         38.    Petitioners have been detained since February 29, 2020. Petitioners
                     8   presented themselves to CBP on February 29, 2020 and have been detained ever
                     9   since. This is in violation of the Flores Agreement. They were given a non-
                    10   refoulement interview with counsel present, but to date, counsel has not received
                    11   notice of a decision. CBP attempted to return the family to Mexico but Mexican
                    12   authorities denied this move when they were alerted of Carolina’s health concerns.
                    13                    THE FLORES SETTLEMENT AGREEMENT
                    14         39.    Procedural Status. In 1985, a class action was brought against the
                    15   government challenging immigration enforcement policies directed toward migrant
                    16   children. After over 10 years of litigation, in 1997, the plaintiff class and the
                    17   government entered into the “Flores Settlement Agreement,” which established
                    18   national standards regarding the detention, release and treatment of all children in
                    19   immigration custody. As a general principle, the Flores Agreement maintained that,
                    20   “[t]he [legacy Immigration and Naturalization Service] treats, and shall continue to
                    21   treat, all minors in its custody with dignity, respect and special concern for their
                    22   particular vulnerability as minors.” Flores Settlement Agreement ¶ 11. The Flores
                    23   Agreement “continues to govern those agencies that now carry out the functions of
                    24   the former INS.” Flores v. Sessions, 862 F.3d 863, 869 (9th Cir. 2017). It remains
                    25   binding on DHS, ICE, and other government agencies, and indeed, was recently
                    26   reaffirmed by the Ninth Circuit in Flores v. Lynch, 828 F.3d 898 (9th Cir. 2016).
                    27         40.    The Agreement requires the expeditious release of minors. There
                    28   are several notable components of the Flores Agreement.              First, the Flores
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                     1   Agreement requires expeditious release of minors from custody to a designated adult
                     2   guardian, except where detention is necessary to ensure the minor’s appearance in
                     3   immigration court or to ensure the minor’s safety or the safety of others. Flores
                     4   Settlement Agreement ¶ 14.      It applies to all minors in immigration custody,
                     5   regardless of whether the child is apprehended unaccompanied or accompanied. See
                     6   Flores, 828 F.3d at 905-06; Flores Settlement Agmt. ¶ 10.
                     7         41.   The Flores Agreement also requires that a minor in immigration custody
                     8   be released “in all cases within 72 hours.” Flores Settlement Agmt. ¶ 14.
                     9         42.   Obligations to provide certain standards of living conditions. The
                    10   Flores Agreement also contains obligations of Respondent in providing for certain
                    11   living conditions for minors that are detained. The Flores Agreement mandates that
                    12   detained minors are housed “in facilities that are safe and sanitary and that are
                    13   consistent with the [Immigration and Naturalization Service’s] concern for the
                    14   particular vulnerability of minors.” Flores Settlement Agreement, ¶ 12. Specifically,
                    15   the Flores Agreement requires that the “Facilities [ ] provide access to toilets and
                    16   sinks, drinking water and food as appropriate, medical assistance if the minor is in
                    17   need of emergency services, adequate temperature control and ventilation, adequate
                    18   supervision to protect minors from others, and contact with family members who
                    19   were arrested with the minor.” (Id.)
                    20         43.   DHS and ICE’s documented history of detaining minors under
                    21   harsh conditions are in violation of the minors’ rights. DHS and ICE have a
                    22   documented history, especially under the current administration and the MPP
                    23   program, of detaining immigrant minors and refusing them their statutory rights
                    24   under the Flores Agreement in manners that Courts have roundly disapproved. A
                    25   survey conducted of 200 migrants detained in CBP facilities found a systemic denial
                    26   of medical care when requested. Researchers from UC San Diego surveyed over 600
                    27   migrants who had been in CBP custody and returned to Mexico pursuant to MPP;
                    28   they found that “nearly 2 out of every 3 (63.3%) who had medical issues reported
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                     1   that their medical issues were not adequately addressed.”6         DHS has returned
                     2   unaccompanied and sick children as well as vulnerable adults to Mexico under MPP
                     3   in violation of internal policy. For example, under that policy, vulnerable individuals
                     4   including unaccompanied children and those with “known physical/mental health
                     5   issues,” are not to be returned to Mexico.        Yet CBP has repeatedly returned
                     6   individuals with serious medical conditions that were known or would have been
                     7   obvious to CBP officers.7
                     8         44.    CBP Report Findings.       A report published by the CBP Office of
                     9   Inspector General in July 2019 specifically detailed the severe conditions at CBP
                    10   holding facilities (the “DHS Report”). This DHS Report detailed the overcrowding
                    11   that exists at CBP facilities and noted that 31% of the children detained at these
                    12   facilities were held longer than the seventy-two (72) hour period permitted under the
                    13   Flores Agreement.
                    14         45.    CBP detention facilities are commonly referred to as hieleras, the
                    15   Spanish word for iceboxes, due to their infamously cold temperatures. CBP subjects
                    16   individuals to inadequate food and hygiene, exposure to illnesses, overcrowding,
                    17   verbal harassment, freezing temperatures, and other abuses.
                    18         46.    The DHS Report also detailed that the conditions under which these
                    19   children are held, specifically in the dangerous border cities, such as Tijuana, Mexico
                    20   violate the Flores Agreement. Namely, the DHS Report detailed that many children
                    21   had no access to showers, limited access to a change of clothes, and sparse access to
                    22   nutritious meals. There were the same conditions that existed in June 2017, when
                    23   the District Court determined that that the government was failing to comply with its
                    24   obligations under the Flores Agreement.           Children and their parents were
                    25
                         6
                    26   7
                           US Immigration Policy Center, Seeking Asylum: Part 2, supra note 7, at 6.
                           Jasmine Aguilera, ‘Vulnerable’ Asylum Seekers Are Supposed to Be Able to Stay
                    27   in the U.S. – But Critically Ill Migrants Are Still Being Sent Back to Mexico Time
                         (2019), https://time.com/5751734/ill-asylum-seekers-sent-back-to-mexico/ (last
                    28   visited Jan 9, 2020).
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                     1   incarcerated in secure, unlicensed facilities for up to eight months—well beyond the
                     2   five-day time limit or the exception of 20 days previously authorized in times of
                     3   emergency or influx. Additionally, the district court found that the government had
                     4   failed to meet other obligations regarding Border Patrol facility conditions, including:
                     5   inadequate provision of food; inadequate access to clean drinking water; unsanitary
                     6   and unsafe conditions; freezing temperatures; and inadequate sleeping conditions.
                     7                       THE MIGRANT PROTECTION PROGRAM
                     8         47.    Procedure before the MPP. Asylum is a discretionary form of relief
                     9   that may be granted to individuals with a well-founded fear of persecution on account
                    10   of a protected ground – i.e., their race, religion, nationality, membership in a
                    11   particular social group, or political opinion. 8 U.S.C. §§ 1101(a)(42)(A), 1158.
                    12   Before implementation of MPP, individuals applying for asylum at or near a port of
                    13   entry were placed in expedited removal (“ER”) proceedings or in full removal
                    14   proceedings before an Immigration Judge pursuant to the Immigration and
                    15   Nationality Act (“INA”) §240. 8 U.S.C. §§ 1225 (b)(1), 1229a.
                    16         48.    Individuals subject to ER who expressed a fear of prosecution or torture
                    17   upon removal were given a Credible Fear Interview (“CFI”) to assess whether there
                    18   exists a significant possibility of establishing eligibility for asylum. 8 U.S.C. §
                    19   1225(b)(1)(A)(i).
                    20         49.    Until MPP, most people who arrived at or near the southern U.S. border
                    21   to seek asylum were subjected to the ER and CFI process. Those who passed a CFI
                    22   remained in the United States pending completion of their removal proceedings.
                    23         50.    Implementation of the MPP. On December 20, 2018, DHS announced
                    24   the commencement of MPP. Under MPP, DHS forces individuals and families who
                    25   have come to the United States from a non-contiguous country to seek asylum to
                    26   return to Mexico while their claims are being adjudicated. See Migrant Protection
                    27   Protocols,     U.S.     Dep’t     Homeland        Security     (Jan.     24,     2019),
                    28   https://www.dhs.gov/news/2019/01/24/migrant-protection-protocls;         see   also   8
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                     1   U.S.C. § 1225(b)(2)(C) (authorizing the Government to “return” certain aliens who
                     2   “arriv[e] on land . . . from a foreign territory contiguous to the United States” to that
                     3   neighboring country pending removal proceedings). The MPP thus applies to aliens
                     4   who have no ties to Mexico.
                     5         51.    Since January 2019, more than 50,000, and possibly over 56,000 asylum
                     6   seekers have been forced back into Mexico to await their court hearings.8 These
                     7   individuals must then find temporary refuge, shelter and basic amenities in the
                     8   Mexican border cities like Tijuana and Mexicali, where there are insufficient shelter
                     9   and resources to accommodate their basic needs.
                    10         52.    DHS applies MPP to individuals and families regardless of whether they
                    11   presented at a port of entry or were apprehended after entering the United States
                    12   without inspection.
                    13         53.    The MPP Guidelines exclude specific groups from the MPP.
                    14   According to the Memorandum for Guidance MPP, certain aliens, including (1)
                    15   vulnerable aliens; … or (3) aliens of interest to the Government of Mexico or the
                    16   United States, will not be placed into MPP.9 In addition, the following categories of
                    17   individuals are also specifically excluded from MPP:
                    18          1.     unaccompanied alien children;
                    19          2.    citizens or nationals of Mexico;
                    20          3.    aliens processed for expedited removal;
                    21          4.    aliens in special circumstances such as: returning LPRs seeking
                    22         admission (subject to INA section 212), aliens with an advance parole
                    23         document or in parole status, aliens with known physical/mental health
                    24
                         8
                    25     Contrasting Experiences: MPP vs. Non-MPP Immigration Court Cases,
                         Trac.cyr.edu (2019), https://trac.syr.edu/immigration/reports/587/ (last visited Jan
                    26   9,
                         9
                            2020).
                           U.S. Customs and Border Protection, MEMORANDUM FOR: Guidance on
                    27   Migrant Protection protocols (2019) (“U.S. Customs and Border Protection, MPP
                         Guiding Principles (2019),”),
                    28   https://www.cbp.gov/sites/default/files/assets/documents/2019-
                         Jan/MPP%20OFO%20Memo%201-28-19.pdf (last visited Jan 6, 2020).
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                     1           issues, aliens who are criminals or have a history of violence, or aliens who
                     2           are of interest to the Government of Mexico or United States;
                     3            5.   any alien who is more likely than not to face persecution or torture in
                     4           Mexico; or
                     5            6. other aliens at the discretion of the Port Director. 10
                                 (emphasis added.)
                     6
                                               THE NON-REFOULEMENT PROCESS
                     7
                                 54.   The Non-Refoulement Process. If persons seeking asylum express a
                     8
                         fear of return to Mexico, they are referred for a non-refoulement interview with an
                     9
                         United States Citizenship and Immigration Services (“USCIS”) asylum officer to
                    10
                         determine whether they are “more likely than not” to face persecution or torture in
                    11
                         Mexico.
                    12
                                 55.   Seekers of non-refoulement protections must provide evidence in the
                    13
                         interviews that they are “more likely than not” to be persecuted in Mexico on account
                    14
                         of a protected ground (race, religion, nationality, political opinion, or particular social
                    15
                         group). I.N.S. v. Cardoza-Fonseca, 480 U.S. 421 (1987).
                    16
                                 56.   If the USCIS determines after a non-refoulement interview that
                    17
                         individuals or families are more likely than not to be persecuted on account of a
                    18
                         protected ground or tortured if returned to Mexico, the individuals or families are
                    19
                         removed from MPP and either released or detained in the United States pending the
                    20
                         conclusion of their removal proceedings.
                    21
                                 57.   If USCIS does not so determine, the individuals and families are
                    22
                         returned to Mexico and forced to remain in MPP.
                    23
                                 58.   Non-refoulement interviews are difficult to pass and are carried out in
                    24
                         an opaque manner that does not prioritize protecting vulnerable individuals. First,
                    25
                         the process requires individuals to spontaneously state a risk of being returned to
                    26
                         Mexico, which many will not know they need to volunteer this information, and,
                    27
                    28   10
                              U.S. Customs and Border Protection, MPP Guiding Principles (2019)
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                     1   second, the circumstances of interviews, in requiring a “more likely than not”
                     2   standard of risk and in denying individuals the right to counsel, such that the
                     3   “inadequate procedures all but ensure[ ] violation of the non-refoulement obligation.”
                         11
                     4
                     5         THE CONVENTION AGAINST TORTURE AND OTHER CRUEL,
                     6        INHUMAN OR DEGRADING TREATMENT OR PUNISHMENT (CAT)
                     7          59.   The United States has committed itself not to return people to places
                     8   where the individuals face persecution or torture. The United States signed the
                     9   Convention Against Torture and Other Cruel, Inhuman or Degrading Treatment or
                    10   Punishment (CAT) in 1988, pledging not to “expel, return . . . or extradite a person
                    11   to another State where there are substantial grounds for believing that he would be in
                    12   danger of being subjected to torture.”
                    13          60.   United States statutes require review by an immigration judge before the
                    14   government removes someone who fears persecution.            Individuals in removal
                    15   proceedings may apply for asylum and for two other related, non-discretionary forms
                    16   of protection – withholding of removal and protection under CAT.
                    17          61.   Withholding of removal under 8 U.S.C. § 1231(b)(3) must be granted to
                    18   noncitizens who demonstrate that their “life or freedom would be threatened” on
                    19   account of a protected ground in the country to which they face removal. Relief
                    20   under CAT must be granted to noncitizens who demonstrate that their “life or
                    21   freedom would be threatened” on account of a protected ground in the country to
                    22   which they face removal. Relief under CAT must be granted to noncitizens who
                    23   demonstrate that they are more likely than not to be tortured in the country to which
                    24   they face removal. 8 C.F.R. §§ 208.16-208-18. These two forms of mandatory
                    25   11
                           Brief of Amicus Curiae Local 1924 in Support of Plaintiffs-Appellees’
                    26   Answering Brief and Affirmance of the District Court’s Decision at 17-22, Case
                         No. 3:19-CV-00807-RS (9th Cir. June 26, 2019) available at
                    27   https://www.documentcloud.org/documents/6172520-Local-1924-Amicus-
                         Brief.html; See also Bobby Allyn, NPR Choice page Npr.org (2019),
                    28   https://www.npr.org/2019/06/27/736461700/asylum-officers-trumps-remain-in-
                         mexico-policy-is-against-moral-fabric-of-u-s (last visited Jan 9, 2020).
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                     1   protection implement the United States’ non-refoulement obligations.
                     2         62.    Because they are mandatory forms of protection, withholding of
                     3   removal and CAT relief are available even when noncitizens are otherwise subject to
                     4   summary removal processes in which immigration officer orders removal without a
                     5   proceeding in front of an immigration judge.
                     6         63.    For example, when individuals with certain criminal convictions are
                     7   placed in a summary process called “administrative removal,” or when those
                     8   previously-removed are placed in a summary process to “reinstate” their prior
                     9   removal order, they can still assert a fear of return to the country of intended removal.
                    10   See 8 U.S.C. §§ 1228(b), 1231(a)(5); 8 C.F.R. §§ 208.31(a), 238.1(b)(2)(i),
                    11   238.1(f)(3), 241.8(e). Where the officer finds a “reasonable fear” – defined as a
                    12   “reasonable possibility” that a noncitizen would be persecuted on account of a
                    13   protected ground, or tortured – the noncitizen is referred for full withholding of
                    14   removal or CAT proceedings in front of an immigration judge. Id. § 208.31. And
                    15   where an asylum officer does not find such a fear, an individual receives a review of
                    16   that reasonable fear determination by an immigration judge. Id. § 208.31(g).
                    17         64.    DHS lacks unreviewable authority to send noncitizens to a country in
                    18   which they fear persecution or torture. See 8 C.F.R. §§ 208.31, 1208.16(a).
                    19         65.    Expedited removal procedures apply to noncitizens who arrive in the
                    20   United States at a port of entry and who engage in misrepresentation or lack of visa
                    21   or other documents permitting their admission, 8 U.S.C. § 1225(b)(1). DHS may
                    22   also apply these proceedings to recent illegal border crossers, i.e., those apprehended
                    23   within 100 miles of the border and who cannot show that they have been in the United
                    24   States for more than two weeks. See 8 U.S.C. § 1225(b)(1)(A)(iii); Designating
                    25   Aliens for Expedited Removal, 69 Fed. Reg. 48877, 48880 (2004).
                    26         66.    However, noncitizens who demonstrate a “credible fear of persecution
                    27   or torture” avoid expedited removal and are placed into regular removal proceedings
                    28   under 8 U.S.C. § 1229a, where they may apply for asylum, withholding of removal,
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                     1   and CAT relief. 8 U.S.C. § 1225(b)(1)(B)(ii); 8 C.F.R. §§ 208.30(e)(2)-(3), 235.6.
                     2   If an asylum officer does not find a credible fear, the decision is reviewable by an
                     3   immigration judge. 8 U.S.C. § 1225(b)(1)(B)(iii)(III).
                     4                      HABEAS AUTHORITY & EXHAUSTION
                     5         67.    There is a presumption of reviewability and the Government faces a
                     6   “heavy burden” when arguing that a statutory scheme “prohibit[s] all judicial review”
                     7   of agency decision-making. Mach Mining, LLC v. EEOC, 575 U.S. 480, 486 (2015)
                     8   (quoting Dunlop v. Bachowski, 421 U.S. 560, 567 (1975)). Courts assess whether
                     9   the congressional intent to preclude judicial review is “fairly discernible in the
                    10   statutory scheme.” Block v. Cmty. Nutrition Inst., 467 U.S. 340, 351 (1984) (quoting
                    11   Ass’n of Data Processing Serv. Orgs. V. Camp, 397 U.S. 150, 157 (1970)). Courts
                    12   will look at the statute’s “text, structure, and purpose.” Elgin v. U.S. Dep’t of
                    13   Treasury, 567 U.S. 1, 10 (2012).
                    14         68.    Because this action arises in the context of habeas corpus, this Court has
                    15   plenary authority, both statutory and equitable, to remedy Petitioners’ continuing
                    16   unlawful detention. The relief that Petitioners seek here is entirely consistent with
                    17   the nature and history of the Great Writ, and its mandate to fashion appropriate relief
                    18   based on the facts and circumstances of a particular case in order to correct errors of
                    19   law and justice. See 28 U.S.C. § 2243 (“The court shall summarily hear and
                    20   determine the facts, and dispose of the matter as law and justice require”); Harris v.
                    21   Nelson, 394 U.S. 286, 292 (1969) (“The language of Congress, the history of the writ,
                    22   the decisions of this Court, all make clear that the power of inquiry on federal habeas
                    23   corpus is plenary”) (internal quotations and citations omitted).
                    24         69.    Habeas jurisdiction is appropriate on several grounds. First, Petitioners
                    25   are detained. See In re: Maria Angelita Carbaja: BIA Dec. 10, 2019 (“when DHS
                    26   requires that an alien remain in Mexico awaiting a removal hearing the alien shall be
                    27   considered detained for a proceeding . . .”).
                    28         70.    Further, this Court has habeas jurisdiction pursuant to 8 CFR 1235.3(d)
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                     1   which provides that “In its discretion, the Service may require an alien who appears
                     2   inadmissible and who arrives at a land border port-of-entry from Canada or Mexico,
                     3   to remain in that country while awaiting a removal hearing. Such alien shall be
                     4   considered detained for a proceeding within the meaning of section 235(b) of the
                     5   Act…”. Even if Petitioners are released from CBP detention facilities, this Court
                     6   retains habeas jurisdiction because this petition was filed while Petitioners were in
                     7   custody. See Spencer v. Kemna, 523 U.S. 1 (1998) (“‘in custody’ requirement was
                     8   satisfied as long as petitioner was incarcerated at time petition was filed. 28 U.S.C.A.
                     9   § 2254.”)
                    10         71.     The law is equally clear that habeas courts have broad authority to enter
                    11   any form of order, including declaratory or injunctive relief, where, as here, the
                    12   requested relief directly compels or indirectly “affects” or hastens the Petitioners’
                    13   release from custody. See Preiser v. Rodriguez, 411 U.S. 475, 487 (1973) (noting
                    14   that habeas courts have the “power to fashion appropriate relief other than immediate
                    15   release”); Carafas v. LaVallee, 391 U.S. 234, 239 (1968) (emphasizing that habeas
                    16   statute “does not limit the relief that may be granted to discharge of the applicant
                    17   from physical custody. Its mandate is broad with respect to the relief that may be
                    18   granted.”).
                    19         72.     Additionally, as minors within the legal custody of Respondents,
                    20   Petitioners are protected by the consent decree entered by the U.S. District Court for
                    21   the Central District of California in Flores v. Reno, Case No. CV 85-4544-RJK(Px)
                    22   (“Flores Agreement”). The Flores Agreement is a contract where the United States,
                    23   through the Attorney General, is a party to that contract. See, e.g., Monell v. Dep’t
                    24   of Soc. Servs., 436 U.S. 658, 690 n.55 (1978) (“[O]fficial-capacity suits generally
                    25   represent only another way of pleading an action against an entity of which an officer
                    26   is an agent …”). Petitioners seek to enforce the United States’ obligations under that
                    27   contract and therefore Petitioners’ claim is governed by federal common law.
                    28   Federal common law is federal law, and disputes governed by it “aris[e] under the …
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                     1   laws … of the United States.” 28 U.S.C. § 1331. Therefore, this Court has subject-
                     2   matter jurisdiction.
                     3         73.    There “is no federal general common law.” Erie R.R. Co. v. Tompkins,
                     4   304 U.S. 64, 78 (1938). However, federal common law governs those pockets of law
                     5   “marked by pressing interests of the United States.” Wallach v. Eaton Corp., 837
                     6   F.3d 356, 365 n.11 (3d Cir. 2016). Those pockets include cases “concerned with the
                     7   rights and obligations of the United States.” Tex. Indus., Inc. v. Radcliff Materials,
                     8   Inc., 451 U.S. 630, 641 (1981). Because the United States is a party to the Flores
                     9   Agreement through its officers and agencies, contractual claims to enforce that
                    10   settlement arise under federal common law.          Thus, there is federal-question
                    11   jurisdiction here.
                    12         74.    As discussed above, the Flores Agreement sets national standards for
                    13   detention, release, and treatment of all such minors. These terms include the
                    14   availability of judicial oversight of detention by an Immigration Judge and judicial
                    15   review of other violations by any United States District Court. The Flores Decree
                    16   agreement remains valid in its entirety.
                    17         75.    No exhaustion requirement applies here because no administrative
                    18   agency exists to adjudicate Petitioners’ constitutional challenges.       Neither an
                    19   immigration judge nor the Board of Immigration Appeals can rule on Petitioners’
                    20   constitutional claims. See Matter of C--, 20 I&N Dec. 529, 532 (BIA 1992) (“[I]t is
                    21   settled that the immigration judge and this Board lack jurisdiction to rule upon the
                    22   constitutionality of the Act and the regulations.”) (citing Bagues-Valles v.
                    23   Immigration & Naturalization Serv., 779 F.2d 483, 484 (9th Cir. 1985) (“BIA . . .
                    24   has no jurisdiction to adjudicate constitutional issues”)).            The custody
                    25   redetermination procedures in timmigration and Nationality Act require that an
                    26   individual is in removal proceedings or has a removal order. See Casas-Castrillon
                    27   v. Dep’t of Homeland Security, 535 F.3d 942, 946 (9th Cir. 2008).
                    28         76.    In addition, the exhaustion requirement may be excused where “a
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                     1   particular plaintiff may suffer irreparable harm if unable to secure immediate judicial
                     2   consideration of his claim.” McCarthy v. Madigan, 503 U.S. 140, 147 (1992).
                     3   “[I]rreparable harm is presumed where there is an alleged deprivation of
                     4   constitutional rights.” A158m. Civil Liberties Union v. Clapper, 804 F.3d 617, 622
                     5   (2d Cir. 2015). Petitioners suffer irreparable harm each day.
                     6         77.     The ongoing unlawful detention of Petitioners for nine (9) days and
                     7   counting is a violation of numerous constitutional and statutory rights.
                     8                                 CLAIMS FOR RELIEF
                     9                                       COUNT ONE
                    10        Respondents’ Detention of Petitioners Violates the Flores Settlement
                    11                                         Agreement
                    12               Violations of Paragraphs 14 and 15 – Release Within 72 Hours
                    13         78.     Petitioners incorporate by reference each and every prior subsequent
                    14   allegation as though fully set forth herein.
                    15         79.     Petitioners are minors who are being detained by Respondents. See In
                    16   re: Maria Angelita Carbaja: BIA Dec. 10, 2019 (“when DHS requires that an alien
                    17   remain in Mexico awaiting a removal hearing the alien shall be considered detained
                    18   for a proceeding…”).
                    19         80.     Petitioners are in legal custody as specified in 8 CFR 1235.3(d). See
                    20   Spencer v. Kemna, 523 U.S. 1 (1998) (“‘in custody’ requirement was satisfied as long
                    21   as petitioner was incarcerated at time petition was filed. 28 U.S.C.A. § 2254.”)
                    22         81.     Petitioners continued detention in the Imperial Beach Border Patrol
                    23   Station violates ¶ 14 and 15 of the Flores Agreement. Paragraph 14 requires the
                    24   release of a minor from the government’s custody unless detention is necessary to
                    25   secure the minor’s appearance before the immigration court. See Flores Settlement
                    26   Agmt. ¶ 14. Paragraph 15 of the Flores Agreement further provides that the release
                    27   of a minor must take place within seventy-two (72) hours. Id. at ¶ 15.
                    28         82.     Petitioners’ detention began on February 29, 2020. They remain in
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                     1   custody and detained by Respondents in Imperial Beach Border Patrol Station.
                     2         83.    Respondents therefore continue to violate ¶ 14 and 15 of the Flores
                     3   Agreement by failing to release Petitioners from CBP custody as Petitioners have
                     4   been detained for over nine (9) days.
                     5            Violations of Paragraphs 11 and 12 – Appropriate Conditions and Least
                     6                                     Restrictive Setting
                     7         84.    In addition, and alleged herein as an independent basis for relief,
                     8   Petitioners continued detention violates ¶ 11 and 12 of the Flores Settlement
                     9   Agreement.
                    10         85.    Paragraph 11 of the Flores Agreement requires that the government treat
                    11   Petitioners, minors, “with dignity, respect and special concern for [their] particular
                    12   vulnerability” as minors, and therefore the government must place them in “the least
                    13   restrictive setting appropriate to the minors’ age and special needs, provided that such
                    14   setting is consistent with its interests to ensure the minors’ timely appearance before
                    15   the INS and the immigration courts and to protect the minors’ well-being . . . .”
                    16   Flores Settlement Agmt. ¶ 11.
                    17         86.    Petitioners’ placement in the Imperial Beach Border Patrol Station is far
                    18   from the protections that Respondents are mandated to provide to Petitioners for their
                    19   well-being. Rather, Petitioners’ detention in the Imperial Beach Border Patrol
                    20   Station is a greater threat to Petitioners’ life and welfare. In the detention center,
                    21   Petitioners do not have access to basic living necessities, including a change of
                    22   clothing, nutritious or even adequate meals and access to clean drinking water,
                    23   showers or bathrooms.
                    24         87.    Moreover, Carolina has substantial medical needs that cannot be met in
                    25   the detention center or in Mexico. The lack of care will have a severe detrimental
                    26   impact on Petitioners’ physical and mental health as they would become orphaned in
                    27   a foreign country without the means to take care of themselves.
                    28         88.    Additionally, the hieleras and shelters in Mexico do not provide
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                     1   Petitioners any protection from gangs, cartels and potential kidnappers. Particularly
                     2   when Petitioners’ father is affiliated with one of the largest gangs in Guatemala and
                     3   the gang knows where Petitioners will be in Tijuana, Mexico. Petitioners’ other
                     4   siblings have already been taken. As a result of the lack of protection and security in
                     5   Mexico, Petitioners believe there is a high likelihood that Petitioners may also be
                     6   kidnapped and taken back to Guatemala.
                     7         89.    These conditions exist in contravention to the Flores Agreement, which
                     8   requires, amongst other conditions, that the government “hold minors in facilities that
                     9   are safe and sanitary.” Flores Settlement Agmt. ¶ 12.
                    10         90.    Furthermore, Petitioners’ detention in the Imperial Beach Border Patrol
                    11   Station continues to place their life in imminent risk. See Carbaja, supra, ¶ 37.
                    12         91.    The circumstances of Petitioners’ detention, as described above, do not
                    13   comply with the obligation to “hold minors in facilities that are safe and sanitary”
                    14   given the unprotected and squalid facilities and the unfit, and certainly not hot, meals
                    15   provided. See Calel Decl. at ¶¶ 8-9, 13 to Flores Settlement Agmt. ¶ 12. Minors
                    16   should not be forced to live in such conditions, in a cement cell with a single toilet,
                    17   given very little to no food (or having to look in the trash for food) and subjected to
                    18   seeing their mother be verbally abused.
                    19                        Violations of Paragraph 24.B. – Judicial Review
                    20         92.    In addition, and alleged herein as an independent basis for relief, ¶ 24.B.
                    21   of the Flores Agreement provides any minor (1) the right to seek judicial review of
                    22   the minor’s detention placement, and (2) the right to allege noncompliance with the
                    23   minimum standards for minor detention.             “Minor” for purposes of the Flores
                    24   Agreement “shall apply to any person under the age of eighteen (18) years who is
                    25   detained in the legal custody of the INS”, now in this context DHS. Flores Settlement
                    26   Agmt. ¶ 4.
                    27         93.    In addition, and alleged herein as an independent basis for relief, the
                    28   Flores Agreement, Para. 24B, creates a right to a bond hearing before an immigration
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                     1   judge, a right that the government intentionally seeks to restrict for persons returned
                     2   to Mexico under MPP by re-designating even those who enter without inspection, as
                     3   “arriving aliens” in an attempt to strip the immigration Judge’s jurisdiction to
                     4   consider bond under INA 23 USC 1226.
                     5         94.    Respondents deprive Petitioners of their rights (1) to seek judicial
                     6   review of their placement as minors, and (2) to allege noncompliance with the
                     7   minimum standards for minor detention.
                     8         95.    Each of the above-alleged actions violates the Flores Agreement.
                     9                                      COUNT TWO
                    10          Respondents’ Detention of Petitioners Violates the CAT and the United
                    11                          States’ Non-Refoulement Obligations
                    12         96.    Petitioners re-allege and incorporate by reference each and every
                    13   allegation contained in the preceding paragraphs as if set forth fully herein.
                    14         97.    United States statutes require review by an immigration judge before the
                    15   government removes someone who fears persecution.
                    16         98.    The duty of non-refoulement prohibits state-parties from expelling or
                    17   returning a refugee in any manner whatsoever to the frontiers or territories where his
                    18   life or freedom would be threatened on account of his race, religion, nationality,
                    19   member of a particular social group, or political opinion. 8 U.S.C. § 1231 (b)(3).
                    20         99.    Non-refoulement is one of the central guiding principles of the Refugee
                    21   Act of 1980, which was enacted to bring U.S. law into compliance with the
                    22   international Refugee Convention and Protocol.
                    23         100. Petitioners have demonstrated that their life or freedom would be
                    24   threatened on account of their father’s gang knowing their location. Petitioners’
                    25   siblings have already been kidnapped and taken back to Guatemala.
                    26         101. For each of the reasons alleged in the facts regarding conditions in
                    27   Mexico and the Petitioners’ medical conditions, the Court should terminate
                    28   Petitioners’ detention and order their return and release into the United States.
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                     1                                     COUNT THREE
                     2        Respondents’ Inclusion of Petitioners to the MPP is a Violation of the
                     3                                   Guidelines on MPP
                     4         102. Petitioners re-allege and incorporate by reference each and every
                     5   allegation contained in the preceding paragraphs as if set forth fully herein.
                     6         103. The MPP Guidelines on Migrant Protection Protocols state that any
                     7   alien that has health issues or is vulnerable is not amendable to MPP.12 Carolina
                     8   suffers from a litany of medical ailments. Being detained in the Imperial Beach
                     9   Border Patrol Station restricts her ability to access routine medical care and
                    10   treatment, such medicines, especially given the notorious lack of medical treatment
                    11   CBP facilities give to detainees and Carolina’s own experience of having her
                    12   medication withheld from her. (Id., ¶ 17).
                    13         104. Petitioners should be exempt from the MPP because Carolina has
                    14   medical documented physical and mental health issues that are not being properly
                    15   addressed nor treated in Mexico. Carolina is blind in one eye, deaf in one ear,
                    16   experiences debilitating numbness in her body and may have a possible brain tumor.
                    17   Her treating physicians emphasize the complexity of Carolina’s medical conditions
                    18   and the fact that she does not have access to the medical care needed to adequately
                    19   prevent risk of decompensation and subsequent poor short and long term health
                    20   outcomes including permanent disability, death, and permanent and total loss of
                    21   sight. (See Exhibit K and Exhibit L).
                    22         105. Additionally, Petitioners can show that they are more likely than not to
                    23   be persecuted in Mexico on account that they are vulnerable aliens, as Central
                    24   American immigrants.
                    25         106. Petitioners are minors and of Guatemalan nationality. There is a litany
                    26
                         12
                    27     U.S. Customs and Border Protection, MEMORANDUM FOR: Guidance on
                         Migrant Protection protocols (2019),
                    28   https://www.cbp.gov/sites/default/files/assets/documents/2019-
                         Jan/MPP%20OFO%20Memo%201-28-19.pdf (last visited Jan 6, 2020).
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                     1   of evidence that Central Americans are specifically targeted by gangs and criminals
                     2   in Mexico because they are afforded limited protection by the Mexican government
                     3   and police. Central Americans are also more likely than others to be victims of
                     4   kidnappings and crimes of violence because it is assumed they are traveling to the
                     5   United States because they have family members who live there and can pay
                     6   ransoms.13
                     7         107. As foreigners in Mexico, Petitioners’ lives remain at risk if they are
                     8   forced to remain in Mexico per the MPP.
                     9                                      COUNT FOUR
                    10   Respondents’ Detention of Petitioners Violates Fifth Amendment Due Process
                    11         108. Petitioners re-allege and incorporate by reference each and every
                    12   allegation contained in the preceding paragraphs as if set forth fully herein.
                    13         109. As persons within the United States, Petitioners are protected by every
                    14   clause of the United States Constitution that is not expressly reserved to citizens.
                    15   This protection includes the Due Process Clause of the fifth Amendment. The Due
                    16   Process Clause provides that “no person shall be . . . deprived of life, liberty, or
                    17   property without due process of law.” U.S. Const. Amend V.
                    18                                 Procedural Due Process Rights
                    19         110. Under the Due Process Clause of the Fifth Amendment, an individual is
                    20   entitled to the procedural due process right of a timely and meaningful opportunity
                    21   to demonstrate that he or she should not be detained. In the case of civil, non-punitive
                    22   immigration detention, the Supreme Court has held that such detention requires “a
                    23   special justification . . . [that] outweighs the individual’s constitutionally protected
                    24   interest in avoiding physical restraint.” Zadvydas, 533 U.S. at 690. For that reason,
                    25   it is the government’s burden to establish whether detention is justified. Tijani v.
                    26   Willis, 430 F.3d 1241, 1246-47 (9th Cir. 2005) (Tashima, J., concurring).
                    27   13
                           John Burnett, NPR Choice page Npr.org (2019),
                    28   https://www.npr.org/2019/08/23/753660088/migrants-in-mexico-seeking-u-s-
                         asylum-wait-amid-dangerous-conditions (last visited Jan 9, 2020).
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                     1             111. Respondents have yet to justify Petitioners’ nine (9) day-detention in the
                     2   Imperial Beach Border Patrol Station. Zadvydas, 533 U.S. at 690. Any interest that
                     3   Respondents may have in effectuating Petitioners’ order to be transported to and
                     4   remain in the Imperial Beach Border Patrol Station does not outweigh Petitioners’
                     5   right, under the Constitution and the federal statutes and regulations governing their
                     6   custody, to fair and meaningful review of their detention.
                     7             112. Respondents’ detention of Petitioners without a hearing before a neutral
                     8   decision-maker to determine whether the detention is necessary, especially as minors,
                     9   violates Petitioners’ procedural due process rights under the Due Process Clause. See
                    10   Padilla v. US Immigration & Customs Enf’t, No. 18-cv-928, 2019 WL 1506754 at
                    11   *4 (W.D. Wash. Apr. 5, 2019).
                    12             Substantive Due Process Right to be Free From Physical Restraint
                    13             113. In addition, and alleged herein as an independent basis, Petitioners have
                    14   a fundamental right to be free from physical restraint. R.I.L.-R. v. Johnson, 80 F.
                    15   Supp. 3d 164, 187-89 (D.D.C. 2015); see Zadvydas, 533 U.S. at 690 (“Freedom from
                    16   imprisonment—from government custody, detention, or other forms of physical
                    17   restraint—lies at the heart of the liberty that [the Fifth Amendment Due Process]
                    18   Clause protects.”).
                    19             114. Petitioners are physically restrained in the Imperial Beach Border Patrol
                    20   Station. Petitioners are subject to the difficult conditions of the CBP detention
                    21   facility and are prohibited from leaving the facility, with no legal basis for their
                    22   detention and no foreseeable end to it.
                    23             115. For each of the above-alleged reasons, Respondents’ conduct has and
                    24   continues to violate Petitioners’ Fifth Amendment right to be free from physical
                    25   restraint.
                    26             116. For each of the above-alleged reasons, Respondents have and continue
                    27   to violate Petitioners’ Fifth Amendment Procedural and Substantive Due Process
                    28   rights.
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                     1                                       COUNT FIVE
                     2        Respondents’ Detention of Petitioners Is Arbitrary and Capricious, in
                     3         Violation of the Administrative Procedure Act, 5 U.S.C. § 706(2)(A)
                     4         117. Petitioners re-alleges and incorporates by reference each and every
                     5   allegation contained in the preceding paragraphs as if set forth fully herein.
                     6         118. Respondents’ decision to continue detaining Petitioners is arbitrary and
                     7   capricious and must be set aside, pursuant to the Administrative Procedure Act
                     8   (“APA”). Under the APA, a reviewing court may set aside an agency decision if it
                     9   is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with
                    10   law.” Id. The standard requires that the agency provide a satisfactory explanation of
                    11   its decision, and a “rational connection between the facts found and the choice made”
                    12   in order for the reviewing court to uphold the decision. Motor Vehicle Mfrs. Ass’n
                    13   of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (internal
                    14   quotation marks and citation omitted).
                    15         119. With respect to Petitioners, Respondents’ decision to continue detaining
                    16   them is “not in accordance with the law” because it violates the requirements of the
                    17   Flores Agreement by detaining them for over seventy-two (72) hours and at a
                    18   location that is neither safe nor sanitary. Flores Settlement Agmt. ¶¶ 11-12.
                    19         120. Respondents lack a rational basis to detain Petitioners. There are no
                    20   federal laws or statutes that allow the CBP to hold Petitioners in custody indefinitely.
                    21   Zadvydas, 533 U.S. at 690 (“A statute permitting indefinite detention of an alien
                    22   would raise a serious constitutional problem.”). The CBP may not properly keep
                    23   Petitioners in its custody without a legal basis to do so.
                    24         121. The decision to keep Petitioners in custody is the agency’s final action
                    25   regarding her custody and therefore is subject to review under the APA. See 5 U.S.C.
                    26   §§ 551, 701, 702. Devoid of a legal basis for Petitioners’ detention, Respondents’
                    27   decisions are arbitrary and capricious; no rational nexus between any agency or
                    28   public interest and their detention can exist because they are neither a flight risk nor
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                     1   danger to the community. See Motor Vehicle Mfrs. Ass’n, 463 U.S. at 43 (citation
                     2   omitted). Respondents’ decision to detain Petitioners indefinitely therefore should
                     3   be set aside as arbitrary and capricious under the APA. 5 U.S.C. § 706(2)(A).
                     4                                         COUNT SIX
                     5    Respondents’ Detention of Petitioners Violates the Administrative Procedure
                     6    Act Because it Violates Petitioners’ Due Process Rights, 5 U.S.C. § 706(2)(B)
                     7         122. Petitioners re-allege and incorporate by reference each and every
                     8   allegation contained in the preceding paragraphs as if set forth fully herein.
                     9         123. The APA provides that courts “shall . . . hold unlawful and set aside
                    10   agency action, findings, and conclusions found to be . . . contrary to constitutional
                    11   right, power, privilege, or immunity.” 5 U.S.C. § 706(2)(B).
                    12         124. For each of the reasons alleged in Counts One, Two, and Three above,
                    13   the Court should hold unlawful and set aside Respondents’ continuing detention of
                    14   Petitioners.   Specifically, Respondents’ conduct has and continues to violate
                    15   Petitioners’ procedural and substantive Due Process rights.
                    16                                      COUNT SEVEN
                    17                        Declaratory Relief, 28 U.S.C. §§ 2201, 2202
                    18         125.     Petitioners re-allege and incorporate by reference each and every
                    19   allegation contained in the preceding paragraphs as if set forth fully herein.
                    20         126. This Court has jurisdiction and authority to issue a declaration of
                    21   Petitioners’ rights, and any such declaration shall have the force and effect of a final
                    22   judgment or decree. 28 U.S.C. § 2201.
                    23         127.     In addition, this Court has jurisdiction and authority to issue any further
                    24   necessary or proper relief based on a declaratory judgment or decree against any
                    25   adverse party whose rights may be determined by such judgment, after reasonable
                    26   notice and hearing. 28 U.S.C. § 2202.
                    27         128. Petitioners accordingly seek a declaration that they have been
                    28   wrongfully detained and are subject to release from CBP custody.
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                     1                                     COUNT EIGHT
                     2                        Writ of Habeas Corpus, 28 U.S.C. § 2241
                     3         129. Petitioners re-allege and incorporate by reference each and every
                     4   allegation contained in the preceding paragraphs as if set forth fully herein.
                     5         130. As set forth above, Respondents are currently holding Petitioners, in
                     6   CBP custody in violation of federal statutes and regulations, a.S. Constitution.
                     7         131. Petitioners thus seek release from detention by writ of habeas corpus
                     8   pursuant to 28 U.S.C. § 2241.
                     9                                 PRAYER FOR RELIEF
                    10         WHEREFORE, Petitioners respectfully prays the Court to:
                    11         1.     Grant Petitioners a writ of habeas corpus directing Respondents to
                    12   release Petitioners within 48 hours in the United States and, pending release,
                    13   provide Petitioners necessary immediate medical attention;
                    14         2.     Issue   a    declaration    that     Petitioners’   ongoing   detention
                    15   violates/violated the INA, APA, and Due Process Clause of the Fifth Amendment
                    16         3.     Award Petitioners costs and expenses under the Equal Access to
                    17   Justice Act (“EAJA”), as amended, 5 U.S.C. § 504 and 28 U.S.C. § 2412, and any
                    18   other basis justified under law, to be proved by subsequent motion; and
                    19         4.     Remove Petitioners from Mexico and into the United States until this
                    20   court can consider briefing on the merits of this matter; and
                    21         5.     Grant such further relief as the Court deems just and proper.
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                     1   Dated:   March 9, 2020          Arent FOX LLP
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                     3                                   s/ Sung Soo Yoon
                                                         John S. Purcell
                     4                                   Tracy Luu-Varnes
                                                         Sung Soo Yoon
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                                                         AL OTRO LADO, INC.
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                     7
                                                         s/ Erika D. Pinheiro
                     8                                   Erika D. Pinheiro
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                    10                                   and A.S.D.J.Y.B.
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                Case 3:20-cv-00443-LAB-AHG Document 1 Filed 03/09/20 PageID.37 Page 37 of 37



                     1
                     2   VERIFICATION BY ATTORNEY ACTING ON PETITIONERS’ BEHALF
                     3                           PURSUANT TO 28 U.S.C. § 2242
                     4
                     5
                                I am submitting this verification on behalf of the Petitioners because I am the
                     6
                         Petitioners’ attorney. As Petitioners’ attorney, I hereby verify that the factual
                     7
                         statements made in the attached Petition for Writ of Habeas Corpus are true and
                     8
                         correct to the best of my knowledge.
                     9
                    10 Dated:        March 9, 2020                         ARENT FOX LLP

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                    12
                    13                                                     Maya Ibars
                                                                           COUNSEL OF RECORD FOR THE
                    14                                                     PETITIONERS

                    15
                                ATTESTATION OF AUTHORITY TO INCLUDE ELECTRONIC
                    16
                                                            SIGNATURE
                    17
                    18          I hereby certify that the contents of this document and all attachments are
                    19   acceptable to all persons whose electronic signatures appear on this document. I
                    20   hereby certify that am authorized by all signing parties to file this document and all
                    21   attachments on their behalf.
                    22 Dated:        March 9, 2020            ARENT FOX LLP
                    23
                    24                                        By: /s/ Sung Soo Yoon
                                                              John S. Purcell
                    25                                        Tracy Luu-Varnes
                                                              Sung Soo Yoon
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                                                                  - 31 -                 VERIFIED PETITION FOR
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